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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

UNITED STATES OF AMERICA,

      Plaintiff,                                  Case No. 21-cr-20405
                                                  Hon. Matthew F. Leitman
v.

NOE GARZA,

     Defendant.
__________________________________________________________________/

                     ORDER DENYING DEFENDANT’S
                     MOTION IN LIMINE (ECF No. 32)

      On November 10, 2022, the Court held a hearing on Defendant Noe Garza’s

motion in limine to exclude certain evidence at trial. (See Mot., ECF No. 32.) For

the reasons explained on the record during the hearing, the motion is DENIED.

      IT IS SO ORDERED.

                                     s/Matthew F. Leitman
                                     MATTHEW F. LEITMAN
                                     UNITED STATES DISTRICT JUDGE

Dated: November 14, 2022

       I hereby certify that a copy of the foregoing document was served upon the
parties and/or counsel of record on November 14, 2022, by electronic means and/or
ordinary mail.

                                            s/Holly A. Ryan
                                            Case Manager
                                            (313) 234-5126



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